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     Travelers Casualty and Surety Company of America




                            IN THE UNITED STATES DISTRICT COURT

                                   FOR THE DISTRICT OF ALASKA

                                         ANCHORAGE DIVISION

     TRAVELERS CASUALTY AND SURETY
     COMPANY OF AMERICA, a Connecticut
     corporation,
                            Plaintiff,                No. 3:12-CV-00082
             v.                                       STIPULATED JUDGMENT OF
     DATUM CONSTRUCTON                                DISMISSAL
     MANAGEMENT, INC., an Idaho
     corporation, DATUM PROPERTIES, LLC,
     an Idaho limited liability company, KEITH
     JONES, individually, and SHERRI M.
     JONES, individually,
                            Defendants.


             This Stipulated Dismissal is entered into between Plaintiff Travelers Casualty and

     Surety Company of America and all Defendants. The parties hereby stipulate to a judgment

     of dismissal of all claims which were or could have been asserted by and between them with
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          DISMISSAL                                                           4207 SE Woodstock Blvd, Suite 423
                                                                              Portland, Oregon 97206
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     prejudice and without costs or attorney fees.

             NOW THEREFORE, it is hereby ordered and adjudged that all claims between

     Plaintiff Travelers Casualty and Surety Company of America and Defendants are hereby

     dismissed with prejudice and without costs or attorney fees to any party.

             Dated this ____ day of February, 2013.

                                                ______________________________________
                                                Hon. H. Russel Holland
                                                U.S. District Court Judge

     IT IS SO STIPULATED:

     /s/ H. Lee Cook________________            /s/ Steven Jones              _____________
     H. Lee Cook, Alaska Bar No. 0309041        Steven Jones, Alaska Bar No. 9311102
     4207 SE Woodstock Blvd., Ste. 423           P.O. Box 24154
     Portland, OR 97206                          Anchorage, AK 99524
     Of Attorneys for Plaintiff Travelers            Attorney for Defendants
     Casualty and Surety Company of
     America




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